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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY PLAINTIFF
V. CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND

THROUGH ITS BOARD OF SUPERVISORS;

HARRISON COUNTY SHERIFF GEORGE PAYNE;

WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;

MORGAN THOMPSON; JOHN DOES 1-4;

AMERICAN CORRECTIONAL ASSOCIATION;

JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS

1-3 EMPLOYEES OF AMERICAN CORRECTIONAL

ASSOCIATION; HEALTH ASSURANCE LLC AND

UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION DEFENDANTS

STATE OF MISSISSIPPI

COUNTY OF HARRISON

AFFIDAVIT OF STEVE CAMPBELL

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority in and
for the County and State aforesaid, the within named, STEVE CAMPBELL, who, after first being
duly sworn by me on his oath, did depose and state the following:

1. My name is STEVE CAMPBELL , and I am over the age of twenty-one (21) years.

I was a Captain with the Harrison County Sheriff’s Office and I was the Captain for
the Professional Standards Unit for the Harrison County Adult Detention Center from
September, 2002 until January, 2008. I have personal knowledge of the matters and

facts contained in this Affidavit and I am competent to testify to the matters stated

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herein.

2. As Captain for the Professional Standards Unit, I was charged with the responsibility

of conducting internal administrative investigations and applicant background
development. (See IA policy attached hereto as Exhibit “1”), The Professional
Standards Unit of the Harrison County Adult Detention Center has the primary
responsibility of investigating complaints of alleged employee misconduct and
complaints of excessive use of force by Harrison County Sheriff's Department
officers. If the alleged incident occurred in the Harrison County Adult Detention
Center booking department, my usual and customary practice would be to view
surveillance recordings of the booking room at the applicable time.

3. 1 was made aware that Gary Brice McBay alleged that he was assaulted, on or about
November 6, 2005, in the booking area of the Harrison County Adult Detention
Center.

4, I reviewed the booking area recordings of the relevant time period of McBay’s
booking and based upon this review, I found none of the allegations made by Mr.
McBay to be true. Therefore, I took no further action into this allegation.

5. At all relevant times, I was the Captain of Internal Affairs Unit and had first hand
knowledge of the maintenance and/or storage of the surveillance tapes; the
surveillance tape is a true and correct copy of the events in the booking room on or
about November 6, 2005; and the tape was generated in the regular course and
pursuant to the regular activities of and duties of the Internal Affairs Unit, as well
as upon the office of the Harrison County Sheriff, and made at or near the time of the

matters set forth by, or from information transmitted by, a person with knowledge of

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those matters.

I certify the above declaration is true and correct under penalty of perjury.

AffiaeSteve Catnpbell
Harrison-County, Mississippi

Sworn to and subscribed before me on this the Bk day of November, 2009.

Bobi Lb, Bathe

Notary Public

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My Commission Expires:

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General Order #65
Harrison County Sheriff's Department

Oct 1,2002
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1. PURPOSE

The purpose of this order is to establish the policy for managing and
staffing the Professional Standards Unit of the Harrison County
Sheriff's Department. This policy will outline the procedures for
investigating complaints of misconduct,

eR Onesie,
e Payne, Jr, Sheriff

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2. SCOPE
This policy is directed to all department personnel.
3. POLICY

The Harrison County Sheriffs Department Professional Standards
Unit shall be responsible for conducting internal administrative
investigations and applicant background development.

This policy shall define the methods of investigation and discipline in
order to ensure the protection of employees’ rights through the
conscientious investigation and ultimate disposition of each inquiry.
This policy shall ensure the integrity of the department by establishing
procedures that provide an investigation of any matter that might affect
the efficient, professional operation of the department, and mandated
compliance with all general orders.

A. Internal Investigations Authority

internal inquiries and investigations are performed under the
authority of the Sheriff. The Professional Standards Unit shall have
the primary responsibility of investigating complaints of alleged
employee misconduct. The Professional Standards Unit will operate
under the supervision and direction of the Sheriff. All orders
written or verbal issued in connection with any internal
investigation shall be considered as direct orders from the Sheriff.
The final authority to exonerate, declare unfounded, not sustained,
or to sustain any complaint rests solely with the Sheriff. Internal
inquiries are administrative and should not be construed as
criminal investigations.

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EXHIBIT

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Disciplinary Review

Members of the Professional Standards Unit may be required to
attend Disciplinary Review Hearings subsequent to internal
investigations. The sole purpose will be to provide the facts and
circumstances surrounding the respective cases.

Civil Service Meetings

A representative of the Professional Standards Unit may be
requested to attend regular or special civil service meetings for
providing insight on disciplinary actions occurring inside the
department. The representative’s responsibility is solely to inform
the Civil Service Commissioners of results of particular
investigations.

PSU Area of Investigative Responsibility

The Professional Standards Unit will investigate serious or sensitive
allegations of misconduct and incidents resulting in actual or
potential litigation against the county, the Sheriff's Department
or employees of the Sheriff’s Department. Any such investigation
shall be performed under the guidelines of appropriate county
policies and Mississippi Statutes,

Legal Action

‘The Professional Standards Unit may investigate any pending legal action
against the department or it’s employees. Upon receipt of such information,
a case fle will be established which will contain all pertinent information
on the action and any request for information.

K.

Shift Supervisor Area of Responsibility

’ The appropriate immediate supervisor will investigate complaints

of less serious violations. This assignment shall not relieve the
Professional Standards Unit from lending assistance when
requested or monitoring the investigation.

The Supervisor receiving an external complaint or (ling an internal
complaint is responsible for preserving evidence to include taking
documentary photographs when practical and possible. The
Supervisor shall take photographs of complainants in all excessive
force complaints even if injuries are not visibly present.

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F. Complaints:

Allexternal complaints will be documented ona Citizen Complaint Form.

Complaints may be received in a variety of ways including, but not
limited to: (a) in person (b) by mail (c) telephone (d) email (e) third party
Anonymous complaints are investigated, but have limitations caused by the
inaccessibility of the complainant.

Procedure for Citizen Inquiry

A citizen alleging misconduct on the part of any employee shall be
directed to the supervisor on duty regardless of the time of day. The
supervisor may be able to resolve the complaint without the assistance
of the Professional Standards Unit. Many complaints of alleged
misconduct can be handled by the Shift Commander or a supervisor,
provided it is done in a professional and timely manner. Unless the
complaint involves gross misconduct or a criminal violation, the Shift
Commander or supervisor should make every attempt to resolve the
inatter without involving the Professional Standards Unit.

if the shift supervisor cannot resolve the complaint satisfactorily or there
is an allegation of a criminal nature, the shift supervisor shall complete
the Citizen Complaint Report and forward this form to the Professional
Standards Unit without delay.

In the event a citizen directly contacts the Professional Standards Unit
when initially registering the complaint, the Professional Standards Unit
will be responsible for referring the complaint to the affected supervisor
or completing the Citizen’s Complaint Report and other necessary
documentation.

Traffic Citations/ Arrests

Complaints relative to differences of opinion between an officer and a
citizen over the issuance of a traffic citation or regarding guilt or
innocence subsequent to an arrest, shall not be investigated by the
Professional Standards Unit, but willbe properly handled by the judicial
system.

G. Use of Citizen Complaint Report
1. Personnel receiving the complaint shall have the citizen sign the -

Citizen Complaint Report in their presence. The substance of the
complaint shall be documented in the appropriate section of this form.

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2. Under no circumstances shall the Citizen Complaint Report be used
as a means to threaten, intimidate, harass or discourage a citizen
from making a complaint.

3. Should the citizen refuse to sign the complaint report, the receiving
supervisor shall complete the report and document the refusal to
sign, A memorandum concerning the allegations shall also be made.
The report shall be signed in the space provided for supervisor
receiving the complaint. The completed report shall be forwarded
to the Professional Standards Unit without delay.

Internal Complaint Procedure

in furtherance of the intent of this policy, any employee may submit a
written statement, documenting employee misconduct, directly to the
Professional Standards Unit which shall process the complaint in
accordance with this general order.

Written Counseling Form

Written Counseling Forms shall be utilized to document an employee's
unsatisfactory performance or to document an incident involving
employees. Written Counseling Forms in. some cases shall serve as a
written consultation. A copy of all the internal complaints or incidents
shall be forwarded te the Professional Standards Unit.

if the supervisor believes the complaint, either external or internal, is
ofsuch a serious nature that it requires immediate attention, or he needs
assistance, he shall contact the Sheriff or the appropriate Director within
his chain of command, who shall determine if the complaint requires
immediate assistance or the assignment of personnel from the
Professional Standards Unit. If the appropriate Director deems that
the complaint should be investigated by the Professional Standards Unit,
the Director shall make the request to the Sheriff.

initial Investigation Procedures

1. Upon receipt of the documentation and approval of the Sheriff, the
Professional Standards Unit shall determine which general order(s),
policies or statutes were violated.

2. Should a formal investigation be ordered, an Initial Notice of Inquiry
Report shall be drafted and forwarded to the affected employee
through the chain of command, except under the following
circumstances:

(a) The alleged violation is ongoing.
(b) The investigation possibly would be compromised by the release
of the information.

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3.

Garrity warnings shall be given to employees and signed prior to all
formal interviews whereby the possibility of criminal conduct may
be alleged. When there is no criminal conduct alleged, employees
interviewed by the Professional Standards Unit will be advised of
the authority of the investigation as well as requirements of complete
truthfulness and candor. This will be documented on an audio
recording tape.

Kk. Classification of Allegations

The Professional Standards Unit investigator shall, in the Internal
Investigative Report, recommend 1 of the following 5 classifications:

1.
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3.

Unfounded- the allegation is false or not factual.
Exonerated- the incident occurred, but was lawful and proper.

Not Sustained- there was insufficient evidence to prove or disprove
the allegation.

- Sustained- the allegation is supported by a preponderance of evidence

to justify a reasonable conclusion that the incident did occur.

Policy Failure- the policy was not specific or did not cover this
incident.

L. Internal Investigations

i.

Internal Complaints will be assigned an 1A# by the Professional
Standards Unit OIC,

. The complaint will then be assigned to a Professional Standards Unit

investigator by the OIC.

Each internal investigative report will contain:

1.
2.

3.
4,
5.

The general order(s) violated, .

The details in chronological order, addressing each point of
accusation,

A synopsis of each witness statement.

Mitigating circumstances, if appropriate,

Recommended classification of the allegations

M, Case File Preparation:

Unless special circumstances occur, all internal investigations must be
completed within thirty days. An extension may be given by the
Professional Standards Unit OIC or the Sheriff.

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Each case file and report will contain the site or copies of the general
orders violated. In addition, each case file will include letters and memos
relevant to the investigation. All reports must include an investigator’s
finding and conclusions. Findings and conclusions should be a summary
listing of relevant conclusions drawn by the investigator based on facts
and circumstances of the investigation and a recommended classification
of the allegations shall be provided by the Investigator. The Professional
Standards Unit shall not make any recommendations regarding
disciplinary action. All Garrity statements, including audio or video
tapes of such interviews, must be filed separately from the investigative
file in an envelope marked “Garrity statement” and filed accordingly.

. Dispositions

1. Informal Personnel Actions- Actions documented on a Written
Counseling Form shail be processed by forwarding a copy of the
Written Counseling Form to the Professional Standards Unit for record.

2. Formal Discipline- A copy of the Formal Discipline Report, (letter
of suspension, termination, ete.) shall be maintained in the affected
employee’s personnel file as defined in the department General
Orders and a copy to be maintained in the Professional Standards
Unit file.

Corrective Actions

1. Informal Personnel Action- When practical informal actions should
be positive and educational rather than punitive in nature. The
employee’s immediate supervisor will complete all informal personnel
actions,

2. Formal Discipline- Construed to be punitive in nature. Lt includes,
but shall sot be limited to:

(a) Written Reprimand
(b) Demoation

{c}) Suspension

(a) Termination

Procedural Due Process

1. Prior to awarding any level of informal personnel action or formal
discipline, the recommending authority may contact the Professional
Standards Unit in order to determine the record of the offending
employee and the consistent level of personnel action or discipline
for the violation.

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2. Required Actions- The following steps will be taken to ensure due
process:

(a) The employee must be informed of the charge(s) against him/her.

(b) The employee must be given an explanation of the evidence
underlying the charge(s).

(c) The employee must have the opportunity to respond to the
charge(s).

(d) All notices and hearings must be done ina meaningful time and
a meaningful fashion.

If the internal investigation classifies the case as either exonerated, not

sustained, unfounded or policy failure, the employee(s) involved will
receive a letter of disposition.

Q. Reviews, Appeals and Grievances

All appeals and grievances shall follow procedures herein and established
by the Harrison County Civil Service Commission and Department
Policy. The Sheriff and all Division OIC personnel may review all
informal and formal personnel actions.

Obstruction of Internal Investigation

No employee shall by writing, speaking, utterance or any other means
commit an act which would hinder or obstruct an authorized internal
investigation by the Harrison County Sheriffs Department.

Confidentiality of Investigations

All complaints and complaint investigations will be confidential and
will not be discussed within or outside the department without approval
of the Sheriff or his designee.

Unauthorized Internal Investigation

No employee shall initiate, conduct, or otherwise participate in any
unauthorized investigation.

Other Administrative Investigations

Officer Involved Shootings

The Harrison County District Attorney’s Office shall be responsible
for conducting an independent investigation of all shootings involving
officers of the Harrison County Sheriff's Department. The Sheriff may
request other independent investigations by the Mississippi Highway
Safety Patrol or other law enforcement agencies. The Harrison County
Sheriffs Department Professional Standards Unit will conduct all
internal investigations.

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Backe Investigations

Background investigations of applicants including sworn, non-sworn
and reserves, will be conducted by the Professional Standards Unit. A. 4
background investigation by the Professional Standards Unit may be
requested by any Director when the Director is informed of a need to
begin the hiring process of applicants. The PSU investigator will be
given a checklist of needed information, and the items on the list will be
noted as to time and date of completion. Upon completion of the
investigation the application will be returned to the personnel officer
with a cover sheet indicating whether or not the applicant passed the
background process. In addition, a copy of the cover sheet will be
forwarded to the Sheriff and the affected Director. Without the approval
of the Sheriff, applicants shall not be offered employment until after a
satisfactory background investigation has been completed and it is
determined that the candidate is suitable for the position which he/she

has applied.

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